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                                                 UNITED STATES DISTRICT COURT
                                                 DISTRICT OF CONNECTICUT



         141 Church Street          450 Main Street             915 Lafayette Blvd
         New Haven, CT 06510        Hartford, CT 06103          Bridgeport, CT 06604
         (203) 773-2140             (860) 240-3200              (203) 579-5861



              NOTICE TO COUNSEL AND SELF-REPRESENTED PARTIES

         The attached case has been assigned to District Judge Sarah F. Russell, who
 sits in Bridgeport. Pursuant to Local Rule 3 any pleading or other document to be filed
 in paper form shall be filed at the seat of Court where the presiding Judge sits.
          Counsel and Self-Represented Parties are required to become familiar with and
 abide by the Federal Rules of Civil Procedure, the Local Rules of Civil Procedure for
 the District of Connecticut, and Standing Orders regarding scheduling in civil cases and
 the filing of trial memoranda.
       Counsel and Self-Represented Parties are alerted to the requirements of Fed. R.
 Civ. P. 26(f) and Local Civil Rule 26, which require that the parties conduct a case
 management planning conference and prepare and file a report of the conference on
 Form 26(f) which appears in the Appendix to the Local Rules
       Counsel and Self-Represented Parties are hereby notified that failure to file and
 serve a memorandum in opposition to a motion, within 21 days after the motion is filed,
 may be deemed sufficient cause to grant the motion. Failure to file and serve a
 memorandum in opposition to a motion to dismiss within 21 days after the motion is filed
 may be deemed sufficient cause to grant the motion, except where the pleadings
 provide sufficient grounds to deny the motion. See D. Conn. L. Civ. R. 7(a)2.
       Counsel and Self-Represented Parties are further notified that they are required
 to comply with requirements relating to Motions for Summary Judgment as set forth in
 Fed. R. Civ. P. 56 and D. Conn. L. Civ. R. 56.
       Counsel and Self-Represented Parties are further advised that they may
 request a referral of their case to a United States Magistrate Judge for disposition.
 See 28 U.S.C. 636 and Rule 73 of the Local Rules for United States Magistrate
 Judges.


                                                         Dinah Milton Kinney, Clerk

Rev. 1/6/25
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                                                       UNITED STATES DISTRICT COURT
                                                                      DISTRICT OF CONNECTICUT




                            ORDER RE: DISCLOSURE STATEMENT

                                        (Amended December 19, 2022)

   Any non-governmental corporate party to an action in this court, or any non-governmental party

who seeks to intervene, shall file a statement identifying all its parent corporations and listing any

publicly held company that owns 10% or more of the party’s stock. A party shall file the statement

with its initial pleading filed in the court and shall supplement the statement within a reasonable time

of any change in the information.

   Citizenship of Parties in Diversity Cases

   Parties or intervenors in a diversity case: in an action in which jurisdiction is based on diversity

 under 28 U.S.C. § 1332(a), a party or intervenor must, unless the court orders otherwise, file a

 disclosure statement. In addition to the information set forth above (if applicable), the statement

 must name and identify the citizenship of every party. If any party is a partnership, limited liability

 partnership, limited liability company, or other unincorporated association, the statement must

 provide citizenship information about that party’s members. If any party is a corporation, the

 statement must provide that party’s state or other jurisdiction of incorporation and its principal place

 of business. The statement shall be filed when the action is filed in or removed to federal court and

 when any party is added to the action, or when another later event occurs that could affect the

 court’s jurisdiction under § 1332(a).

   Counsel for plaintiff(s) or removing defendant(s) shall be responsible for serving a copy of this

order upon all parties to the action.
